 

Case 16-11819-BLS Doc610 Filed 11/23/16 Page 1 of 3

IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Chapter 11

In re:

Case No. 16-11819 (BLS)
ROADHOUSE HOLDING, INC,

et al., Jointly Administered

Related Docket No. 416

Debtors.

ORDER GRANTING MOTION OF THOMAS HOWARD KLUTTS, ET AL.
FOR RELIEF FROM THE AUTOMATIC STAY
Upon consideration of the Motion of Thomas Howard K]utts and Brandi

Klutts, individually and as next friends of certain minors (collectively, the
“Movants”) for Relief from Automatic Stay (the “Motion”), in which the Movants
seek stay relief to pursue judgment in a district court action pending in the District
Court of Midland County, Texas, 441% Judicial District and any responses thereto,
the Court having determined that it has jurisdiction over the Motion pursuant to 28
U.S.C. §§ 1334 and 157 and that this is a core proceeding pursuant to 28 U.S.C.
§§ 157(b)(2)(A) and (G) and the Court having found and determined that (i) notice
of the Motion being adequate, and no further notice being necessary; (ii) the relief
requested by the Motion is appropriate; and (iii) other good and sufficient cause

exists to support the relief requested by the Motion; it is hereby

 

 
 

Case 16-11819-BLS Doc610 Filed 11/23/16 Page 2 of 3

ORDERED, ADJUDGED, AND DECREED that:

1. The automatic stay provided by 11 U.S.C. § 362 and/or any injunction
contained in any plan confirmed by this Court is hereby lifted and annulled to solely
allow Movants to name Debtor Logan’s Roadhouse, Inc. as a defendant in that
certain lawsuit pending in the District Court of Midland County, Texas, 441*
Judicial District that was assigned Case No. CV51314 (the “State Litigation”).
Movants may also effectuate service upon Logan’s Roadhouse, Inc. The State
Litigation remains otherwise stayed (including with respect to any pleading that may
be filed to contest the addition of Logan’s Roadhouse, Inc to the State Litigation),
subject to the terms of an order by this Court providing for alternative dispute
resolution of the State Litigation or any further order lifting the stay or any injunctive
provisions of a chapter 11 plan.

2. This Order makes no determination as to whether or not Logan’s
Roadhouse, Inc. is a proper party to the State Litigation and any decision as to
whether or not Logan’s Roadhouse, Inc. may be added as a defendant to the State
Litigation, including in light of prior pleadings and court rulings remains with the
Judge of the 441 Judicial District Court of Midland County. Nothing herein
prevents Logan’s Roadhouse, Inc. or Logan’s Roadhouse of Texas, Inc. from
contesting or objecting to any amended pleading adding Logan’s Roadhouse, Inc. to
the State Litigation once the automatic stay is permanently lifted.

3. Nothing herein (a) alters, amends or otherwise modifies the terms and

conditions of the insurance policies issued to the Debtors by ACE American

 

 
 

 

Case 16-11819-BLS Doc610 Filed 11/23/16 Page 3 of 3

Insurance Company and its affiliates and successors (collectively, the ”Chubb
Companies”) and any agreements related thereto (collectively, the “Chubb Insurance

Program”) and the coverage provided thereby, (b) relieves the Debtors of any of their

 

obligations to the Chubb Companies under the Chubb Insurance Program, (c)
obligates the Chubb Companies to pay any amount within a self-insured retention,
(d) creates or permits a direct right of action by the Movants against the Chubb
Companies, (e) precludes or limits, in any way, the right of the Chubb Companies to
contest and/or litigate the existence, primacy and/or scope of available coverage
under any alleged applicable policy or to otherwise assert any defenses to coverage,
or (f) constitutes a determination or admission that coverage exists with respect to
the Movants’ claims.

4. The fourteen (14) day stay of this Order prescribed by Fed. R. Bankr.
P. 4001(a)(3) is waived.

5. This Order shall remain binding and effective in the event that any of
the above-captioned bankruptcy cases is converted to a case under any other chapter
of title 11 of the United States Code. |

6. This Court shall retain jurisdiction to resolve any dispute concerning

the interpretation or enforcement of this Order.

¢

Dated: November 23 , 2016
Wilmington, Delaware The Honorabté BrendatZ Shannon
United States Bankruptcy Judge

 

WCSR 37869849v1

na |
me.
